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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



MARY PROVENCE,                                                            Civil File No. 11-2141

               Plaintiff,

vs.                                                            STIPULATION OF DISMISSAL
                                                                        WITH PREJUDICE
ALW SOURCING, LLC,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiff Mary Provence, and the

defendant, ALW Sourcing, LLC hereby stipulate to the dismissal of the above-styled case and

any claims that were raised or that could have been raised in this action, with prejudice, each side

to bear its own costs and attorneys fees.

                                              Respectfully submitted,

Dated: August 1, 2011                         By /s/J. Mark Meinhardt
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Dated: August 1, 2011                         By /s/Richmond M. Enochs
                                              Richmond M. Enochs, #05972
                                              Paul Croker, #21627
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